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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

Catherine Cole, Barbara Koostra, Mary-Ann
Sontag Bowman, Rhondie Voorhees,                         CV-21-88-M-BMM
Courtney Babcock, Laura Berkhouse, Ruth
Ann Burgad, Jane Doe 1, Jennifer Cooper,
Cindy Ferguson, Frieda Houser, Sherrie           Order Granting Joint Motion for
Lindbo, Jennifer McNulty, Jane Doe 2, Vida      Approval of Settlement Agreement
Wilkinson, Jackie Hedtke, Laura John, and         and Motion for Dismissal; and
Vandi Theriot, individually and on behalf of    Order Granting Plaintiffs’ Motion
all others similarly situated,                    for Approval of Disbursement

             Plaintiffs,

      vs.

Montana University System, University of
Montana-Missoula, and John Doe
Defendants 1-50,

             Defendants.


      Pursuant to Federal Rule of Civil Procedure 41(a)(2), upon joint motion of the

Parties and in camera review of the General Release and Settlement Agreement upon

unopposed motion by the Plaintiffs and in camera review of the fee agreement and

Settlement Statement and good cause shown,

      IT IS ORDERED that that the settlement reached by the Parties is approved,

including but not limited to, the agreement to dismiss with prejudice the claims

related to the requested class action (see, i.e., Doc. 140) and the State of Montana.



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      IT IS ORDERED that the distribution of the $350,000 settlement funds

pursuant to the Settlement Statement is approved, and summarized as follows: (1)

Litigation   Costs:    $199,934.55   ($11,107.48/Plaintiff);   (2)   Attorney    Fees:

$116,666.67 ($6,481.48/Plaintiff); and (3) Net to Plaintiffs: $33,398.78, of which

$1,855.49 will be paid to each Plaintiff.

      IT IS ORDERED that the above-captioned cause is dismissed with prejudice,

having been fully settled upon the merits, each party to pay its own costs and attorney

fees. All pending motions are moot. All deadlines and hearings were previously

vacated. (Doc. 172).

      Dated this 9th day of January, 2024.




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